Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 1 of 24




          Exhibit 1
               Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 2 of 24




   CA-Northern District Court: Juror Questionnaire 2023

Thank you to all our prospective jurors!

You remain in the pool of prospective jurors in a particular case described below. You must answer the following
juror questionnaire. This questionnaire will assist the judge and lawyers in selecting a jury. Answer all the
questions to the best of your ability. There are no right or wrong answers. To answer correctly you must answer
honestly.

We need your help so that we can select a fair and impartial jury in this case. Do not assume anything from these
questions. The fact they are being asked does not necessarily have anything to do with the evidence that you will
hear.

The judge and lawyers know that every person has beliefs and prejudices concerning many things. You should
answer with your true feelings and opinion, whatever they may be. Do not assume that any of your answers will
qualify you or disqualify you from serving on this jury.

Please fully answer each question to the best of your ability. Write or print clearly. You must not ask anyone for
help. Do the best you can. If you cannot answer a question because you do not understand it or do not know, please
indicate that.

Because your answers are part of the jury selection process and become part of the records of this court, your
answers must be truthful under penalty of perjury.

The answers to these questions will be disclosed to the Court and the attorneys and will be used by the Court and
the attorneys for the selection of the jury in this case. The conﬁdentiality of your answers to these questions will be
maintained unless otherwise ordered by the Court.

From this point forward, you are directed not to read, listen to, or watch anything related to this case
until you have been excused as a potential juror, or if you are selected as a juror, until the trial is over. This includes
all media sources such as television, radio, newspaper, on-line sites, blogs, social media, Google searches, etc. You
are not to discuss this case with anyone, including your family, friends, co-workers, or other potential jurors. You
are directed not to write or post anything about this case or your jury service on social media or in any other
format. Do not research this case or the people involved – including any of the facts presented in this
questionnaire, the victims, the accused, the lawyers, and the judge – through any resource including the internet,
media publications or other source of information.

Again, do not discuss this questionnaire or your answers with friends, family, co-workers, court
personnel, or anyone else or attempt to do any research on this case or anything related to the case.

Jury service is one of the most important duties a citizen can be called upon to perform. Thank you for fulﬁlling
your civic duty by responding completely and honestly during jury selection. The integrity of the process depends
on your truthfulness. Your participation and cooperation in this process are greatly appreciated.

Honorable Jacqueline Scott Corley
UNITED STATES DISTRICT JUDGE




                                                                    1
              Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 3 of 24




   CA-Northern District Court: Juror Questionnaire 2023

Case Summary

This is a criminal case involving charges brought by the United States against David DePape (the “Defendant”). Mr.
DePape is charged with attempting to kidnap Nancy Pelosi and assaulting her husband, Paul Pelosi, at their
residence in San Francisco in late October 2022.

The trial will involve two counts.

In Count 1, the United States alleges that David DePape attempted to kidnap Congresswoman Nancy Pelosi.

In Count 2, the United States alleges that David DePape assaulted Paul Pelosi with a dangerous weapon.

These are only allegations. The Defendant has denied the charges and pled not guilty. The United States must
prove each charge against the defendant beyond a reasonable doubt. The Defendant is presumed innocent of the
charges.




                                                               2
                Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 4 of 24




   CA-Northern District Court: Juror Questionnaire 2023

Background Information

* 1. Please provide your ﬁrst and last name




   * 2. Do you have any condition or issue that would aﬀect your ability to serve as a juror,
   including diﬀiculty hearing, seeing, reading, or concentrating?
         No

         Yes. If Yes, please explain.




   * 3. What is your preferred form of address?
         Miss

         Ms.

         Mrs.

         Mr.

         Dr.

         Other (please specify)




* 4. What is your age?




* 5. Where do you live? (Please do not list your street address.)

County


City/Town


Neighborhood



* 6. How long have you lived at that location?




                                                     3
              Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 5 of 24

  * 7. Do you:
       Rent

       Own

       Other. Please explain:




* 8. Where were you born?




* 9. What other communities have you lived in during the last ten years?




  * 10. What is your current marital/relationship status?
       Single

       Married

       Separated

       Divorced

       Widowed

       Live with a partner



  * 11. Have you previously been married?
       Yes

       No

  If yes, how many prior marriages have you had?




  * 12. What is your current job status?
       Working full-time

       Working part-time

       Retired

       Disabled

       Unemployed – looking for work

       Unemployed – not looking for work

       Homemaker

       Full-time student




                                                    4
               Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 6 of 24

* 13. What is your occupation? [PLEASE NOTE: If you are currently not employed, retired,
disabled or a homemaker, please describe your most recent prior employment]
What is your
occupation (or what
was it, if not currently
employed)?

By whom are (were)
you employed?

How long have (did)
you worked there?

Please describe the
nature of your job

Have you ever worked
for a social media
company? If so, what
company?



* 14. During the course of your working life have you changed careers or occupations and, if
so, what were your prior careers or occupations?




   * 15. Do you currently have or have you ever had any management or supervisory
   responsibilities at work?
          No

          If yes, how many people do you or did you manage or supervise?




* 16. What is your highest level of education you completed?




* 17. What universities, colleges, and/or vocational schools have you attended?




* 18. Please describe your educational background, including major areas of study and all
degrees, certiﬁcates, or licenses, etc. received.




                                                              5
               Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 7 of 24

   * 19. Have you taken any courses in law, legal procedure, administration of justice,
   government, or political science?
         No

         Yes

   If Yes, please describe:




Please complete questions 19 through 27 regarding your present spouse or partner. If you are widowed,
divorced, or separated, or do not currently have a spouse or partner, please answer all the following questions
regarding your former spouse/partner.


   * 20. What is the current employment status of your spouse/partner (or your former
   spouse/partner):
         Working full-time

         Working part-time

         Retired

         Disabled

         Unemployed

         Homemaker

         Full-time student



* 21. What is your spouse’s/partner’s occupation (or what was it, if retired or unemployed or
disabled)?




* 22. By whom is (was) your spouse/partner employed?




* 23. How long has (did) your spouse/partner work(ed) there?




* 24. Please describe the nature of your spouse’s/partner’s job.




* 25. What other types of jobs has your spouse/partner had in the past?




* 26. What is the highest level of education your spouse/partner completed?




                                                                6
                 Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 8 of 24

* 27. What universities, colleges, and/or vocational schools has your spouse/partner
attended?




* 28. Please describe your spouse's/partner's educational background, including major areas
of study and all degrees, certiﬁcates, or licenses, etc. received.




* 29. What are/were your parents’ and/or stepparents’ occupations? (If retired or deceased,
what did they do?)

Parent 1


Parent 2


Stepparent 1


Stepparent 2



   * 30. Do you have children?
           No

           Yes



* 31. If you have children, please provide their gender, age, education, occupation/employer
(if applicable), and whether they live with you:

Child 1


Child 2


Child 3


Child 4


Child 5



* 32. If other adults live in your home in addition to those already you already described
above, please provide their gender, age, education, relationship to you, and
occupation/employer. (If you do not live with other adults, please enter "none.")




                                                      7
            Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 9 of 24

  * 33. Have you, your current spouse/partner, your child, or anyone close to you ever served in
  the military?
       No

       Yes. Please state the person(s) relationship to you, the branch of service, highest rank, dates of service, and
       whether they have combat experience.




* 34. What are your hobbies, major interests, recreational pastimes, and spare-time activities
and sports?




* 35. Please list all groups and organizations you belong to or participate in, including but not
limited to service, community, and neighborhood groups; crime prevention groups; volunteer
activities; and groups concerned with the criminal justice system.




                                                               8
            Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 10 of 24




  CA-Northern District Court: Juror Questionnaire 2023

Jury Service, Courts, Crime, and the Criminal Justice System

  * 1. Have you ever served as juror?
       Trial juror

       Grand juror

       On a court martial

       None of the above



* 2. For each instance of jury service, state the approximate year, whether it was civil or
criminal, state or federal court, the type of case (or criminal charges), whether there was a
verdict, whether you were the foreperson, and whether the experience was positive or
negative for you and how you felt about your jury service. (If you have not served as a juror,
please enter "none".)




  * 3. If you have served on a jury, is there any reason that your prior jury service would aﬀect
  your ability to be fair, objective, and impartial to both sides at trial? If Yes, please explain.


       I have not previously served as a juror.

       No, there is no reason that my prior jury service would aﬀect my participation in this trial.

       Yes, my prior jury service would aﬀect my participation in this trial, as explained below:




  * 4. Have you or any family member ever had occasion to contact the United States
  Attorney’s Oﬀice or a District Attorney’s Oﬀice, including the Family Support, Consumer
  Fraud, or Victim/Witness Divisions?
       No

       Yes. If Yes, please list the name(s) of the person who contacted the oﬀice, their relationship to you, and
       information about the contact.




                                                               9
            Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 11 of 24

  * 5. Please indicate whether you, any family members, or close friends have ever been
  employed by or aﬀiliated with any of the agencies listed below.
       Federal Bureau of Investigation (FBI)

       San Francisco Police Department

       United States Capitol Police

       Other federal, state, or local law enforcement agency (including police, sheriﬀ, jail, prison, immigration,
       IRS, military police, parole, or probation)

       None of the above



* 6. For each agency checked in the above question, please explain the person(s) aﬀiliated
with the agency, their relationship to you, which agency, and their position or aﬀiliation with
the agency (if none, enter "none").




  * 7. Not including someone you listed in the question above, have you or a close friend or
  relative applied for a position in law enforcement, or studied or taken courses in the
  administration of justice, criminal justice, or law?
       No

       Yes. If Yes, please explain:




  * 8. Have you, or a close friend or family member, ever worked for a court, a prosecutor’s
  oﬀice, or a criminal defense oﬀice? This includes a judge, a District Attorney’s oﬀice, a
  United States Attorney’s oﬀice, a Probation Oﬀice or similar oﬀice, or any private or public
  criminal defense attorney’s oﬀice.
       No

       Yes. If Yes, please explain




                                                              10
          Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 12 of 24

* 9. Have you or anyone close to you ever been the victim of any kind of crime - including
domestic violence, burglary, robbery, assault, identity theft, etc. - whether it was reported to
law enforcement authorities or not?
     No

     Yes. If Yes, please explain:




* 10. Have you or anyone close to you ever been a witness to any kind of crime - including
domestic violence, burglary, robbery, assault, identity theft, etc. - whether it was reported to
law enforcement authorities or not?
     No

     Yes. If Yes, please explain:




* 11. Have you ever called the police or other law enforcement agency because of a crime or
concern about illegal or dangerous activity?
     No

     Yes. If Yes, please explain:




* 12. Have you ever had to appear in court or in any court proceeding in any civil or criminal
case as a plaintiﬀ, defendant, victim, or witness for any reason other than that stated above?


     No

     Yes. If Yes, please state when and explain why you appeared in court




                                                          11
           Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 13 of 24

* 13. Have you, any member of your family or any close friends ever been arrested?
     No

     Yes. If Yes, please explain:




* 14. Have you, or a close friend or family member, ever had a positive or negative experience
with a law enforcement oﬀicer or agency, federal agency, or the federal government which
would inﬂuence your ability to judge the facts of a criminal case or the person accused?
     No

     Yes. If Yes, please explain:




* 15. The defendant, witnesses, or lawyers in this case may be of a diﬀerent race, color,
immigration status, national origin, ethnicity, sexual orientation, gender or gender identity, or
economic circumstances from you. You will be instructed that you should not be inﬂuenced
by any of these factors. Does this instruction seem fair to you and could you follow it as a
juror in this case?
     Yes

     No. If No, please explain:




* 16. Is there anything about your personal beliefs, whether religious, moral, ethical, or
philosophical, that would make it diﬀicult or inappropriate for you to serve as a juror in a
criminal case and make a determination about a person’s guilt?
     No

     Yes. If Yes, please explain:




                                                  12
            Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 14 of 24

* 17. The law provides that, in a criminal case, the Government has the burden of proof, and
that a defendant need not prove or disprove anything. Do you think this rule is fair and could
you follow it as a juror in this case?
      Yes

      No. If No, please explain:




* 18. Which of the following statements best describes your view regarding criminal law in
the United States as it relates to people accused of crimes?
      The law provides an appropriate level of protection for people accused of crimes.

      The law does not provide enough protection for people accused of crimes.

      The law provides too much protection for people accused of crimes.

      I do not know / I have no opinion.

If you believe the law provides too much or not enough protection, please explain:




* 19. The court will instruct you that the burden of proof remains with the prosecution. That
burden of proof is proof beyond a reasonable doubt. The Court will instruct you on this issue,
but generally, this standard requires proof that leaves you “ﬁrmly convinced” the defendant is
guilty, but does not require the Government to prove guilt beyond all possible doubt. It is
your duty to ﬁnd the defendant guilty if the Government meets this standard, and to ﬁnd the
defendant not guilty if the Government does not meet this standard. If you view the
evidence in the case as reasonably permitting either of two conclusions - one of non-
guilt and one of guilt - you must, of course, adopt the conclusion of non-guilt. Do
you think this rule is fair and could you follow it as a juror in this case?
      Yes

      No. If No, please explain:




                                                            13
           Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 15 of 24

* 20. The law provides that a defendant has a right not to testify in her/his own defense, and
that you may not draw any inferences or presumption of guilt from a defendant’s decision not
to testify. Do you think this rule is fair and could you follow it as a juror in this case?
     Yes

     No. If No, please explain:




* 21. The court will instruct you on the laws and your duties as jurors. Will you be able to
follow these instructions even if you disagree with them?
     Yes

     No. If No, please explain:




                                                    14
              Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 16 of 24




   CA-Northern District Court: Juror Questionnaire 2023

Media and Case Knowledge

                                              MEDIA QUESTIONS




* 1. What are your main sources of news/current events? Please list the names of the media
outlets or media sources that you use, if any, in each of the categories set out below.
Newspapers/Periodicals:



Television:



Radio:



Online sources (such as websites, blogs, social media websites, YouTube channels, or email newsletters):



Conversations:



Other:




   * 2. Have you commented on, followed, subscribed to, “liked,” shared, tweeted, or otherwise
   posted or ampliﬁed anything on social media or any other web site about or relating to
   Congresswoman Nancy Pelosi, her husband Paul Pelosi, or the defendant in this case, David
   W. DePape?
         No

         Yes. If Yes, please explain:




                                                              15
          Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 17 of 24

* 3. Have you read, watched, listened to, or been told of any newspaper or internet story,
magazine article, other publication, television program, or documentary that touched on or
talked about this case?
     No

     Yes. If Yes, please explain, and include where you saw any such item:




* 4. Will anything you described above aﬀect your ability to be fair and impartial with respect
to this case?
     No

     Yes. If Yes, please explain:




* 5. Do you know or have you heard about the defendant, Mr. David W. DePape?
     No

     Yes. If Yes, please explain how you know or what you have heard about Mr. DePape, and the source of
     anything you know or have heard about him. Please take your time to search your memory and provide a
     full account of what you recall from what you have heard or seen in the media or elsewhere:




* 6. Have you or has anyone close to you had any prior personal or professional experience
with Congresswoman Nancy Pelosi, her husband Paul Pelosi, or any of their children,
children’s spouses, or grandchildren?
     No

     Yes. If Yes, please explain:




                                                           16
           Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 18 of 24

* 7. Have you or has anyone close to you ever worked or volunteered for or against
Congresswoman Pelosi’s Congressional campaign for oﬀice, with respect to either any
primary election or any general election?
     No

     Yes. If Yes, please explain.




* 8. Have you or has anyone close to you ever worked or volunteered for or against another
politician or public ﬁgure?
     No

     Yes. If Yes, please explain:




* 9. During the course of the trial in this case, you will hear testimony regarding
Congresswoman Nancy Pelosi, who represents parts of San Francisco. Does Congresswoman
Pelosi currently represent you in Congress or has she ever represented you in Congress?
     No

     Yes



* 10. If you answered Yes to the question above, would the fact that Nancy Pelosi has
represented or currently represents you aﬀect your impartiality in a case where she and her
husband are alleged victims of a crime?
     No

     Yes. If Yes, please explain:




* 11. Do you (or to your knowledge do your friends or family members) have strong opinions
or feelings about either Congresswoman Pelosi, her husband Paul Pelosi or their relatives, or
Mr. DePape that would aﬀect or inﬂuence your ability to be a fair and impartial juror in this
case in any way?
     No

     Yes. If Yes, please explain:




                                                17
          Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 19 of 24

* 12. Have you or anyone close to you ever requested or received assistance from
Congresswoman Pelosi or her oﬀice?
     No

     Yes. If Yes, please provide details of the assistance requested and/or received:




* 13. In this case, you will see video footage of an alleged assault. Do you think that seeing
footage of that nature could aﬀect your ability either to judge this case fairly or to not decide
the case based upon emotion?
     No

     Yes. If Yes, please explain:




                                                            18
             Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 20 of 24




  CA-Northern District Court: Juror Questionnaire 2023

Witnesses
Please check the box of the name of any of the listed people that you personally
know:

  * 1. During a trial you may hear the testimony of police or other law enforcement oﬀicers
  including federal agents. The jury will be instructed that testimony of a witness should be
  given no more or less weight solely because the witness is a law enforcement oﬀicer. Despite
  that instruction would you tend to give the testimony of a law enforcement oﬀicer any more
  or less weight – no matter how slight - than you would to a witness who is not a law
  enforcement oﬀicer, or would you judge their testimony in the same way that you would judge
  testimony from non-law enforcement witnesses? For each choice, please explain your answer
  below.
        More Weight (please explain below)

        Less Weight (please explain below)

        Same Weight (please explain below)

  Please explain:




  * 2. Do you believe that you would be more or less inclined to believe Congresswoman Pelosi
  or her husband Paul Pelosi than any other witness for any reason, including her position as a
  Congresswoman and former Speaker of the House of Representatives?
        No

        Yes. If Yes, please explain:




  3. Do you know any of the following persons? (If not, please select “None of the above”.)
        Ron Aiello

        Joyce Blalock

        Todd Borden

        Kyle Cagney

        Chris Chew



                                                   19
   Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 21 of 24

Angela Chuang

Timothy Clark

Thomas Colthurst

Jacqueline Scott Corley

Sheree Cruz-Laucirica

Joel Dabisch

Joseph Daneﬀ

Andrew Dawson

Tracy Demkowski

Jacquelyn Fuller

Edward Gamble

Helen Gilbert

Desiree Gorham

Catherine Goulet

John Grey

Gary Grzymala

Aleksiy Holub

Christopher Holzhauer

Michael Huang

Carla Hurley

Patrick Lennan

Jodi Linker

Dwight Littlejohn

Geoﬀrey Manley

Michele Martinez

Ada Means

Lauren Merian

Stephanie Minor

Eureka Monroe

Kenneth Montgomery

Alejandro Najarro

Wing Ng

Lyn O'Connor

Aaliyah Paxson

Nancy Pelosi

Paul Pelosi

Craig Perry


                                  20
   Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 22 of 24

Marina Piccolotti

Alexander Popov

Ismail Ramsey

Patrick Robbins

Justin Sayban

Shahin Shaikh

Meredith Stanger

Adriane Starks

Steven Straube

Brandon Szalacinski

Laura Vartain Horn

Madeleine Wachs

Kyle Waldinger

Katherine Wawrzyniak

Andrew Wheeler

Kolby Willmes

Michael Wong

Nathaniel Yung

If you checked any of the listed individuals above, please explain how you know them:




None of the above




                                                     21
             Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 23 of 24




  CA-Northern District Court: Juror Questionnaire 2023

Concluding Questions

  * 1. Has anything that you learned from this questionnaire, or what you have read, seen, or
  heard about this case before receiving this questionnaire, including the nature of the
  charges, caused you to believe that you cannot be a fair and impartial juror in this case?
       Yes

       No

       Yes. If Yes, please explain:




  * 2. The court estimates that the trial in this case will last approximately two weeks including
  jury selection. Do you have any speciﬁc problems of a serious nature that might prevent you
  from serving as a juror in this case?
       No

       Yes. If Yes, please explain:




  * 3. Is there any matter not covered by this questionnaire that should be brought to the
  attention of the court and the lawyers because it might aﬀect your ability to be a fair and
  impartial juror?
       No

       Yes. If Yes, please explain:




  * 4. Is there any matter you would prefer to discuss privately with the Court?
       No

       Yes. If Yes, please explain:




                                                    22
                Case 3:22-cr-00426-JSC Document 83-1 Filed 09/20/23 Page 24 of 24

   * 5. Judge Corley, the federal judge presiding over this case, has ORDERED YOU NOT to
   conduct any research or do any investigation into this case or the allegations asserted by the
   government, including research or investigation into any of the matters discussed in this
   questionnaire, and not to discuss this case or the allegations asserted by the government with
   anyone, including family members.

   Do you understand that you must comply with this Order until the Court releases you from
   jury service, and if you fail to comply you would be subject to sanctions?
         Yes

         No

         Yes. If Yes, please explain:




   * 6. Do you have any reservations about your ability to comply with this Order?
         Yes

         No



   * 7. Are you fully vaccinated for COVID-19 (one dose of Johnson & Johnson or two doses of
   Moderna or Pﬁzer) and have you received a booster shot?
         No, I am not fully vaccinated and I will not get a vaccine for Covid.

         No, I am not fully vaccinated but plan to get vaccinated in the near future.

         Yes, I am fully vaccinated but have not received a booster shot.

         Yes, I am fully vaccinated and have received a booster shot.

         Decline to answer.



* 8. JUROR’S OATH:
I, the undersigned, declare under penalty of perjury that my answers set forth in this Jury
Questionnaire are true and correct to the best of my knowledge and belief. I have not
discussed my answers with anyone else or received assistance in completing the
questionnaire.

Your name:


Today's date:




                                                                23
